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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA               :     Hon. Madeline Cox Arleo

                                              Criminal No. 19-68 (MCA)

RICHARD ADEBAYO arid
AMOS PETER AGBAJAIFE



                             PROTECTIVE ORDER

      This matter having come before the Court on the application of the

United States, by Craig Carpenito, United States Attorney for the District of

New Jersey (by Jamel Semper and Catherine R. Murphy, Assistant U.S.

Attorneys, appearing) concerning the use of discovery materials, including any

documents or other information subject to the Government’s disclosure

obligations pursuant to Rule 16 of the Federal Rules of Criminal Procedure,

Title 18, United States Code, Section 3500, Brady v. Maryland, United States v.

Giglio, and marked trial exhibits that contain the following information: (1) a

third party’s (a) social security number; (b) taxpayer-identification number; (c)

birth date; (d) financial-account number; (e) home address; (f) telephone

number; (g) email address; or (h) account password or pin number; (2) the

applications and affidavits in support of search warrants obtained during the

investigation; and (3) any other discovery materials that the parties designate

as “CONFIDENTIAL” (hereinafter, “Confidential Discovery Materials”); and

      The procedure to regulate the disclosure and use of the Confidential

Discovery Materials will not impede Defendant Adebayo’s preparation of
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defenses, but merely will protect against the improper dissemination or use of

any Confidential Discovery Materials; and

       For good cause shown,

       IT IS onthis    ‘   dayo1Ø4i19

       ORDERED that:

       1.     In addition to making the Confidential Discovery Materials available

to the defense for inspection and review, the Government is authorized to provide

defense counsel with his own copies of Confidential Discovery Materials to

facilitate preparation for trial. 1

       2.     The Confidential Discovery Materials shall be used by Defendant

Adebayo and/or defense counsel only in the preparation of the defense in

this case.

       3.     Access to Confidential Discovery Materials will be restricted to

personnel authorized by the Court, namely, (1) defense counsel, and associated

attorneys, paralegals, investigators, experts (retained pursuant to a written

retainer agreement, by Defendant Adebayo and/or his defense counsel in

connection with the criminal case, and the experts’ employees and support

personnel), and secretaries employed by defense counsel and performing services

on behalf of Defendant Adebayo (collectively, the “Defense”), (2) individuals who

the Defense in good faith believes may either be a prospective witness in the




‘On October 27, 2017, the Court granted Defendant Adebayo’s request to represent himself in
this matter. (Crim. No. 15-550, ECF No. 71.) The Court has appointed standby counsel for
Defendant Adebayo. (Crim. No. 15-550, ECF No. 81; Crim. No. 19-68, ECE No. 16.1 The
references herein to “defense counsel” also apply to standby counsel.

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action, or who may be able to provide the Defense with leads for purposes of

defending this action, (3) third-party consultants (and their employees and

support personnel), and/or litigation support vendors or services, including

outside copying services or companies engaged in the business of supporting

computerized or electronic litigation discovery or trial preparation, and (4) such

other persons as hereafter may be authorized by the Court upon a Defendant’s

motion.

      4.     Notwithstanding the provisions of Paragraph 3, the Defense may

discuss or review Confidential Discovery Materials with other individuals,

including prospective witnesses and their counsel, as necessary to prepare the

defense, but the Defense shall not permit such individuals to possess or retain

Confidential Discovery Materials or duplicate versions.

      5.     The following restrictions will be placed on the individuals described

in Paragraph 3 unless further ordered by the Court. These individuals shall not:

             a.    Duplicate Confidential Discovery Materials for, or allow copies

of any kind to be made by, any other person not described in Paragraph 3, or

allow Confidential Discovery Materials to be otherwise disseminated;

             b.    Allow any person to read, view, or possess Confidential

Discovery Materials except as provided in Paragraphs 3 and 4; or

             c.    Use Confidential Discovery Materials for any other purpose

other than in connection with the preparation of a defense against the charges

in this matter.




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         6.     The Defense shall advise any person to whom Confidential Discovery

Materials are disclosed by the Defense that such information should be held in

strict confidence and that the person must comply with the restrictions of

paragraphs 2 and 5 above.

         7.     Except as provided in Paragraphs 3 and 4, the Defense shall not

disclose Confidential Discovery Materials to any person without leave of Court

obtained on application to the Court and with notice to the Government.

         8,     If any party, including the Government, includes any Confidential

Discovery Materials in connection with the filing of a motion, that party shall file

such materials provisionally under seal. Any party shall have ten days from the

date of such filing to file a formal motion to seal any or all such materials, which

may be opposed by any other party. If the Court grants the motion to seal, the

materials at issue in the motion to seal shall remain under seal. If no motion to

seal is filed, or such motion is denied, the materials shall be unsealed.

         9.     Any Confidential Discovery Materials filed with the Court must

comply with the provisions of Rule 49.1 of the Federal Rules of Criminal

Procedure. The Defense may disclose the Confidential Discovery Materials for

use at trial, subject to Fed. R. Crim. P. 49.1 and any other applicable law or

rules.

         10.    This order is binding on all future and successor counsel.

         1 1.   This order applies retroactively to Confidential Discovery Materials

that the Government has already produced to Defendant Adebayo and/or

defense counsel in Criminal No. 15-550 (MCA) and Criminal No. 19-68 (MCA),


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and also applies to any Confidential Discovery Materials that the Government

may produce after the date of this order.

      12.    Within a reasonable period of time following the conclusion of this

litigation (i.e., when Defendant Adebayo has exhausted any rights of direct

appeal from any judgment and conviction resulting from a triad or guilty plea,

and the conclusion of any habeas proceedings; or the one-year limitation period

to bring a petition pursuant to 28 U.S.C. § 2255, if no such petition is filed prior

to that time), Defendant Adebayo and/or defense counsel shall collect and return

to counsel for the United States all additional copies of the materials containing

Confidential Discovery Materials (excluding any materials over which Defendant

Adebavo and/or defense counsel has a proprietary or ownership interest).




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      13.   This Order does not constitute a ruling on the question of whether

any particular material is properly discoverable or admissible and does not

constitute any ruling on any potential objection to the discoverability of any

material.



IT IS SO ORDERED this          day



                                            HON. MADELINE COX ARLEO
                                            United States District Judge




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